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          EXHIBIT 6
             to
        THIRD DEWEY
           DECL.
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  Jack:

  Apologies. I may not have made myself clear.

  As I understand it, CBP did not conduct a search. (If we are mistaken please let us know as soon
  as possible.) So as concerns CBP there is no Vaughn Index to be created. As to the CBP Glomar
  we do not need declarations to litigate it. The rationale for the Glomar is irrelevant; it plainly is
  overbroad and hence improper as we detailed in our Reply at 21–22. Those are the only issues
  we envision brieﬁng and they are pure issues of law as framed. Two distinct questions of law
  seem to be the type of issues that could be briefed now while the other DHS components are
  working on Vaughan Indices and declarations so the case did not otherwise sit “idle.” The legal
  issues are distinct so we wouldn’t be brieﬁng issues that would reoccur on the “merits.” And to
  be clear, we are not suggesting we would want CBP to move; that is open to discussion. We are
  happy to move on the CBP’s blatantly unlawful basis for refusing to conduct a search.
  Moreover, it seems to us more efﬁcient to proceed this way in that if Judge Nichols rules in our
  favor as we fully expect, CBP will then be compelled to run a search which would further delay
  having a “completed” set of declarations and Vaughan Indices for “merits” resolution. It seems
  to us that this approach comports with that adopted in other matters where one component issues
  a Glomar ripe for immediate litigation and the other has on-going processing. See, e.g., Gov’t
  Accountability Project v. CIA, 548 F.Supp.3d 140, 147 (D.D.C. 2021) (deciding motion for
  partial summary judgement on CIA Glomar while other agencies were processing FOIA
  request). If we are missing something with the foregoing analysis, please tell us. As we have
  repeatedly said, Plaintiffs are amenable to any approach to move the matter along. That said, we
  do not ﬁnd it helpful to invoke a rote “policy” that everything always must wait as that seems to
  us to be both needlessly inﬂexible and correlate to taking the maximum time to litigate a FOIA

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  case. It seemed fairly clear to us that Judge Nichols recognized the unusual nature of this case
  and the media and public interest in prompt resolution. Judge Nichols has ordered partial
  summary judgement brieﬁng in a FOIA case where due to timing issues resolution of discrete
  questions in isolation was more efﬁcient and allowed a measure of “parallel” tracking to expedite
  a matter. See Inst. for Justice v. IRS, 547 F.Supp.3d 1 (D.D.C. 2021).



  Again, our only interest in scheduling and procedure is moving this matter along promptly. So
  we reiterate we are happy to work with you on this issue. Another possible alternative is to raise
  the issue with you and Judge Nichols at a status conference.



  We look forward to discussing the matters raised herein at your earliest convenience.




  Best,

  Sam




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  John J. “Jack” Bardo

  Assistant United States Attorney

  United States Attorney’s Office

  District of Columbia

  601 D Street, NW

  Washington, DC 20530

  Phone: (202) 870-6770

  Email: John.Bardo@usdoj.gov




  John:



  I hope this email ﬁnds you well. Given the Judge’s clear indication that he wants to move this
  matter along, we wanted to talk to you about a potential summary judgement scheduling issue.



  To our mind the issue of the lawfulness of CBP’s construction of its regulation and their Glomar
  seems to be separate in terms of the narrow legal issues presented, from the merits of any
  Exemption 6 or 7(C) withholdings that involve a speciﬁc set of searched records. It also seems
  to us that these discrete legal issues could be briefed more quickly than issues that involve in
  some way a set of records and withholdings based on speciﬁc records. They are also in some
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  way ancillary to the “merits” issues in that we fully expect Judge Nichols to rule against CBP
  and that ruling would then require a search by CBP prior to reaching the merits. That search
  would then take time.



  In light of that it seems to us that we should proceed with expeditious brieﬁng on those issues
  now rather than later.



  Happy to discuss.


  Thanks,


  Sam




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